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   JS 44
   (Rev. 03/99)                                                                          CIVIL COVER SHEET
      The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
      except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of
      the Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

  I (a) PLAINTIFFS                                                                                                   DEFENDANTS

         Metropolitan Life Insurance Company
                                                                                                                          Maureen Key-Del Duca
    (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF                                                                State OF RESIDENCE OF FIRST LISTED DEFENDANT
                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                                               (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                     NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF
                                                                                                                            LAND INVOLVED




    (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                                                         ATTORNEYS (IF KNOWN)

           Jack M. Englert, Jr.
           Holland & Hart LLP
           8390 E. Crescent Parkway, #400
           Greenwood Village, CO 80111
           (303) 290-1087


  II. BASIS OF JURISDICTION                                                    (PLACE AN X IN ONE BOX ONLY)          III. CITIZENSHIP OF PRINCIPAL PARTIES                                      (PLACE AN X IN ONE BOX
                                                                                                                         (FOR DIVERSITY CASES ONLY)                         FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
           1 U.S. Government                      3 Federal Question                                                                           PTF DEF                                                  PTF       DEF
            Plaintiff                             (U.S. Government Not a Party)                                      Citizen of This State       1 ⌧1            Incorporated or Principal Place        ⌧4          4
                                                                                                                                                                   of Business in This State
           2 U.S. Government               ⌧ 4 Diversity                                                             Citizen of Another State          2   2     Incorporated and Principal Place         5              5
            Defendant                        (Indicate Citizenship of Parties in Item III)                                                                         of Business in Another State
                                                                                                                     Citizen or Subject of a           3   3     Foreign Nation                           6          6
                                                                                                                      Foreign Country


         IV.            NATURE OF SUIT (PLACE AN X IN ONE BOX ONLY)
               CONTRACT                                                       TORTS                                     FORFEITURE/PENALTY                      BANKRUPTCY                   OTHER STATUTES

  ⌧110     Insurance                          PERSONAL INJURY                          PERSONAL INJURY                   610 Agriculture                   422 Appeal                      400 State Reapportionment
   120     Marine                                                                                                        620 Other Food & Drug                 28 USC 158                  410 Antitrust
   130     Miller Act                        310 Airplane                             362 Personal Injury –              625 Drug Related Seizure of       423 Withdrawal                  430 Banks and Banking
   140     Negotiable Instrument             315 Airplane Product Liability                Med Malpractice                     Property 21 USC 881             28 USC 157                  450 Commerce/ICC Rates/ etc.
   150     Recovery of Overpayment           320 Assault, Libel & Slander             365 Personal Injury --             630 Liquor Laws                                                   460 Deportation
           & Enforcement of                  330 Federal Employers'                        Product Liability             640 R.R. & Truck                                                  470 Racketeer Influenced and
                                                                                                                         650 Airline Regs
                                                                                                                                                           PROPERTY RIGHTS                       Corrupt Organizations
           Judgment                              Liability                            368 Asbestos Personal
   151     Medicare Act                      340 Marine                                   Injury Product Liability       660 Occupational                                                  810 Selective Service
                                                                                                                               Safety/Health               820 Copyrights                  850 Securities/Commodities/
   152     Recovery of Defaulted             345 Marine Product Liability
                                                                                                                         690 Other                         830 Patent                            Exchange
           Student Loans                     350 Motor Vehicle                     PERSONAL PROPERTY
                                                                                                                                                           840 Trademark                   875 Customer Challenge
           (Excl. Veterans)                  355 Motor Vehicle
   153     Recovery of Overpayment of            Product Liability                    370 Other Fraud                                                                                          12 USC 3410
           Veteran's Benefits                360 Other Personal Injury                371 Truth in Lending                                                                                 891 Agricultural acts
   160     Stockholders' Suits                                                        380 Other Personal                                                       SOCIAL SECURITY             892 Economic Stabilization Act
   190     Other Contract                                                                 Property Damage                                                                                  893 Environmental Matters
   195     Contract Product                                                                                                       LABOR                    861 HIA (1395ff)                894 Energy Allocation Act
                                                                                      385 Property Damage
                                                    CIVIL RIGHTS                                                                                                                           895 Freedom Of Information Act
           Liability                                                                      Product Liability                                                862 Black Lung (923)
                                                                                                                         710 Fair Labor Standards Act      863 DIWC/DIWW (405(g))          900 Appeal of Fee Determina-tion
                                             441 Voting                                                                  720 Labor//Mgmt Relations         864 SSID Title XVI                    Under Equal Access to
           REAL PROPERTY                                                              PRISONER PETITIONS
                                             442 Employment                                                              730 Labor/Mgmt.                   865 RSI (405(g))                      Justice
                                             443 Housing/                                                                   Reporting & Disclosure Act                                     950 Constitutionality of State
   210     Land Condemnation                                                        510 Motions to Vacate
                                                 Accommodations                                                          740 Railway Labor Act                                                   Statutes
   220     Foreclosure                                                                  Sentence Habeas Corpus
                                             444 Welfare                                                                 790 Other Labor Litigation                                        890 Other Statutory Actions
   230     Rent Lease & Ejectment                                                   530 General                                                            FEDERAL TAX SUITS
                                             440 Other Civil Rights                                                      791 Empl. Ret. Inc.
   240     Torts to Land                                                            535 Death Penalty
                                                                                                                             Security Act
   245     Tort Product Liability                                                   540 Mandamus & Other                                                   870 Taxes (U.S. Plaintiff
   290     All Other Real Property                                                  550 Other                                                                   or Defendant)
                                                                                                                                                           871 IRS -- Third Party
                                                                                                                                                                26 USC 7609



 V. ORIGIN                                                                                          (PLACE AN X IN ONE BOX ONLY)
                                                                                                                                     TRANSFERRED FROM                                                 APPEAL TO DISTRICT
   ⌧1 Original                   2 Removed from             3 Remanded from                    4    REINSTATED OR                 5 ANOTHER DISTRICT                  6 MULTIDISTRICT               7 JUDGE FROM
         Proceeding                State Court                Appellate Court                       REOPENED                        (SPECIFY)                            LITIGATION                   MAGISTRATE


  VI. CAUSE OF ACTION
                                               Brief description of cause: Rescission of insurance policy.



  VII. REQUESTED IN                                         CHECK IF THIS IS A                                              DEMAND                                   Check YES only if demanded in complaint:

       COMPLAINT:                                        UNDER F.R.C.P. 23                                                  Not Stated N/A                           JURY DEMAND:              YES    ⌧NO

  VIII. RELATED CASE(S)IF ANY (see instructions):                                             JUDGE                                                                   DOCKET NUMBER

  DATE                                                 SIGNATURE OF ATTORNEY OF RECORD

  08/18/08                                             s/Jack M. Englert, Jr.
FOR OFFICE USE ONLY
     RECEIPT #                                AMOUNT                                                APPLYING IFP                                 JUDGE                                     MAG. JUDGE
UNITED STATES DISTRICT COURT
3911278_1.DOC
